
Aeundell
: This is a proceeding for the redetermination of a deficiency in income tax for the calendar years 1919 and 1920 in the amount of $1,501.53. The error alleged is the refusal of the Commissioner to permit the petitioner to file his income-tax return on the community property basis, dividing the community income between himself and his wife.
The appeal was submitted on the pleadings and the only facts before us are those admitted by the Commissioner in his answer. Of these the only ones'material are that the petitioner is an individual having his principal office in San Francisco, Calif., and that during the years 1919 and 1920 he and his wife resided in the State of California. These facts are not sufficient to warrant our disturbing the action of the Commissioner.
. Judgment for the Commissioner.
